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10 Attorneys for United States of America

11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                          SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                   )   Case No. 18-CR-00258 EJD
                                                 )
15           Plaintiff,                          )   UNITED STATES’ PRETRIAL CONFERENCE
                                                 )   STATEMENT
16      v.                                       )
                                                 )   Date: January 14, 2021
17   RAMESH BALWANI,                             )   Time: 9:00 a.m.
                                                 )   Court: Hon. Edward J. Davila
18           Defendant.                          )
                                                 )
19                                               )

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 1            Pursuant Criminal Local Rule 17-1-1(b), the parties respectfully submit the following Pretrial

 2 Conference Statement.

 3            1.      Disclosure and Contemplated Use of Statements or Reports of Witnesses Under the
                      Jencks Act, 18 U.S.C. § 3500, or Fed. R. Crim. P. 26.2
 4
              The United States has conducted a thorough search for statements subject to the Jencks Act, 18
 5
     U.S.C. § 3500, and Federal Rule of Criminal Procedure 26.2 and has produced all such statements
 6
     identified to date. The government will continue to produce any Jencks/Rule 26.2 material it obtains,
 7
     generates, or subsequently identifies.
 8
              2.      Disclosure and Contemplated Use of Grand Jury Testimony of Witnesses Intended
 9
                      to Be Called at the Trial
10
              The United States has produced all Grand Jury testimony of witnesses intended to be called at
11
     the trial.
12
              3.      Disclosure of Exculpatory or Other Evidence Favorable to the Defendant on the
13                    Issue of Guilt or Punishment
14            The United States has conducted a thorough search for information discoverable under Brady v.
15 Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and their progeny and

16 produced all such information identified to date. The government acknowledges its ongoing obligations

17 under Brady. The government will continue to produce any Brady and Giglio material it obtains,

18 generates, or subsequently identifies.
19            4.      Stipulation of Facts Which May Be Deemed Proved at the Trial Without Further
                      Proof By Either Party and Limitation of Witnesses
20

21            The government intends to propose evidentiary stipulations for Defendant to consider. The

22 government is seeking stipulations that certain communications or wire transfers were “interstate wire

23 communications” and that emails bearing certain Bates prefixes produced by Theranos are true and

24 correct copies of emails sent or received by Theranos personnel. The government anticipates seeking

25 further stipulations regarding the authenticity of records produced in the underlying investigation. At

26 this time, the parties have not finalized stipulations to present to the Court. In the event the parties reach

27 agreement, the stipulations will be reduced to writing, signed by the parties, filed with the Court, and

28 published to the jury at the appropriate time during the course of the trial.

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 1          5.      Appointment By the Court of Interpreters Under Fed. R. Crim. P. 28

 2          The government is not aware of any need for interpreters in this case.
 3
            6.      Dismissal of Counts and Elimination from the Case of Certain Issues, e.g., Insanity,
 4                  Alibi, and Statute of Limitations

 5          Defendant filed or joined six motions to dismiss the Second and Third Superseding Indictments,
 6 which were denied on October 13, 2020. ECF No. 552 at 11, 14, 18, 22, 24, 27, 28.

 7          7.      Joinder Pursuant to Fed. R. Crim. P. 13 or the Severance of Trial As to Any Co-
                    Defendant
 8
            On March 20, 2020, the Court ordered severance of the trials of Defendant and Elizabeth
 9
     Holmes, who is also named in the operative indictment. ECF No. 362.
10
            8.      Identification of Informers, Use of Lineup or Other Identification Evidence and
11
                    Evidence of Prior Convictions of Defendant or Any Witness, Etc.
12
            The United States did not use “informers,” as it understands the term, during the criminal
13
     investigation of the conduct that gave rise to the Third Superseding Indictment. The United States did
14
     not use a “lineup” in the investigation of the conduct that gave rise to the Third Superseding Indictment.
15
     The government anticipates numerous witnesses will identify the Defendant and that there will be no
16
     meaningful dispute about identification at the trial. The government is unaware of prior convictions of
17
     Defendant or witnesses that might serve as a proper basis for impeachment; in the event it learns of any
18
     it will make appropriate disclosures.
19
            9.      Pretrial Exchange of Lists of Witnesses Intended to Be Called in Person or By
20                  Deposition to Testify at Trial, Except Those Who May Be Called Only for
                    Impeachment or Rebuttal
21

22          On November 5, 2021, the United States served a witness list.

23          On November 12, 2021, the Defendant served a witness list.

24          10.     Pretrial Exchange of Documents, Exhibits, Summaries, Schedules, Models or
                    Diagrams Intended to Be Offered or Used at Trial, Except Materials That May Be
25                  Used Only for Impeachment or Rebuttal

26          On November 21, 2021, the United States served an exhibit list. The government respectfully

27 reserves the right to amend its list further prior to and during the trial, if necessary. The government will

28 provide the Court with all pre-marked exhibits as the Court directs and respectfully recommends that the

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 1 exhibits be provided electronically given the volume. The government also respectfully recommends

 2 exhibits be provided to the Court and the defense in binders relevant to specific witnesses shortly before

 3 each witness’s testimony. The United States continues to prepare summaries, diagrams, and

 4 demonstrative exhibits in anticipation of trial, and will share them with defense counsel as they are

 5 completed.

 6            11.    Pretrial Resolution of Objections to Exhibits or Testimony to Be Offered at Trial

 7            On May 21 and 22, 2021, the Court issued orders on motions in limine in the Holmes matter.
 8 E.g., ECF Nos. 797 & 798. The parties in this matter have filed motions in limine which currently are

 9 scheduled for hearing at the pretrial conference on January 14, 2022. The government anticipates
10 working with defense counsel to resolve further objections to exhibits and testimony before bringing any

11 matters to the attention of the Court.

12            12.    Preparation of Trial Briefs on Controverted Points of Law Likely to Arise at Trial
13            Given the Court’s familiarity with the case and the legal issues, the government does not plan to
14 submit a trial brief before the trial starts, unless the Court requests or requires otherwise. To the extent

15 controverted issues arise during trial, the government reserves the right to present short briefs to aid the

16 Court’s resolution of such issues.

17
              13.    Scheduling of the Trial and of Witnesses
18
              The government is considering ways to complete its case-in-chief in less time than the Holmes
19
     trial.
20
              14.    Request to Submit Questionnaire for Prospective Jurors Pursuant to Crim. L.R.
21                   24-1, Voir Dire Questions, Exercise of Peremptory and Cause Challenges and Jury
                     Instructions
22
              On December 21, 2021, the government filed its proposed jury instructions and jury verdict
23
     form. ECF Nos. 804, 805, & 802. That same day, Defendant filed his proposed jury instructions. ECF
24
     Nos. 1210. The parties also have submitted proposed juror questionnaires. The government respectfully
25
     requests the opportunity to review and comment on any questionnaire the Court elects to employ, and to
26
     present objections to Defendant’s proposed jury instructions.
27
              15.    Any Other Matter Which May Tend to Promote a Fair and Expeditious Trial
28

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 1          The government will work with defense counsel and with witnesses and the Court to ensure the

 2 safety of all participants in the trial and compliance with the Court’s standing orders regarding health

 3 protocols in light of the COVID-19 pandemic. The government also will work with defense counsel to

 4 resolve other matters in an effort to promote a fair and expeditious trial and will bring timely to the

 5 Court’s attention matters on which the parties disagree.

 6 DATED: January 7, 2022                                         Respectfully submitted,

 7                                                                STEPHANIE M. HINDS
                                                                  United States Attorney
 8

 9                                                                     /s/
                                                                  ________________________
                                                                  JEFF SCHENK
10                                                                JOHN C. BOSTIC
                                                                  ROBERT S. LEACH
11                                                                KELLY I. VOLKAR
                                                                  Assistant United States Attorneys
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